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13                             UNITED STATES DISTRICT COURT
14                             FOR THE DISTRICT OF ARIZONA
15
     United States of America,                     CASE NO.     CR-18-00422-PHX-SMB
16

17                Plaintiff,                       UNOPPOSED MOTION TO EXTEND
           vs.                                     TIME FOR FILING MICHAEL
18                                                 LACEY’S REPLY TO RULE 29
     Michael Lacey, et al.,
19

20                Defendants.
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22
           Paul J. Cambria and Erin McCampbell Paris hereby moves for an extension of its
23
     deadline to reply in support to Michael Lacey’s Rule 29 motion. The current deadline is
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25   January 16, 2024. The Defense requests that the Court extend the reply deadline by 2
26   days, to January 18, 2024. Mr. Cambria and Mrs. Paris makes this request because Mrs.
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            Case 2:18-cr-00422-DJH Document 2028-1 Filed 01/16/24 Page 2 of 3




     Paris is currently home ill and unable to finish preparing the Reply. Further Mr. Cambria out of
 1

 2   town on business. Mrs. Paris has consulted with the assigned AUSAs, who do not oppose

 3   the requested extension of the response time.
 4

 5
            RESPECTFULLY SUBMITTED this 16th day of January, 2024.
 6

 7
                                             LIPSITZ GREEN SCIME CAMBRIA LLP
 8

 9                                           By: /s/          Paul J. Cambria, Jr.
                                                       PAUL J. CAMBRIA, JR.
10                                                     Attorney for Defendant Michael Lacey
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     On January, 2024, a PDF version
25
     of this document was filed with the
26   Clerk of Court using the CM/ECF
     System for filing and for Transmittal
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            Case 2:18-cr-00422-DJH Document 2028-1 Filed 01/16/24 Page 3 of 3




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